                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


  WALT DISNEY PARKS AND RESORTS
  U.S., INC.,

           Plaintiff,                               Case No. 4:23-cv-163-AW-MJF
  v.

  RONALD D. DESANTIS, in his official
  capacity as Governor of Florida, et al.,

           Defendants.


       CFTOD DEFENDANTS’ MOTION TO ABSTAIN OR DISMISS

       Pursuant to FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1), 1 12(b)(6), and the

doctrine of forum non conveniens, Defendants Martin Garcia, Charbel Barakat,

Brian Aungst Jr., Ron Peri, Bridget Ziegler, and Glenton Gilzean, Jr., respectfully

move the Court to abstain from reaching the merits and stay this case until the

underlying and unsettled questions of state law have been resolved, or alternatively,

to dismiss Plaintiff’s First Amended Complaint. For the reasons stated in



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         Out of an abundance of caution, CFTOD Defendants invoke Rule 12(b)(1)
for their request for abstention given the unsettled question of the precise vehicle for
an abstention motion. See Trump for President, Inc. v. Boockvar, 481 F. Supp. 3d
476, 487 (W.D. Pa. 2020) (“When it comes to motions requesting abstention under
one or more of the various abstention doctrines recognized by the Supreme Court,
courts have disagreed on what standard to apply—Rule 12(b)(1), Rule 12(b)(6), or
neither.”).

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Defendants’ memorandum in support of this motion, the Court should abstain and

stay this case until the validity of the Development Agreement and Restrictive

Covenants are resolved in state court under state law. Alternatively, the Court should

dismiss the case under the doctrine of forum non conveniens due to the forum-

selection clause that requires Disney to bring these claims in the circuit court for

Orange County, Florida. Lastly, all of Disney’s claims fail as a matter of law—

primarily (though not exclusively) due to the fact that the Development Agreement

and Restrictive Covenants are void as a matter of Florida law and therefore have

never had any legal force or existence. For these reasons and the reasons explained

in Defendants’ memorandum, the Court should grant this motion.



Dated: June 26, 2023                          Respectfully submitted,

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    Counsel for Defendants Martin Garcia,
    Charbel Barakat, Brian Aungst Jr., Ron
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    Gilzean, Jr.




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                  LOCAL RULE 7.1(F) CERTIFICATION

      In accordance with Local Rule 7.1(F), the undersigned counsel hereby

certifies that the foregoing Defendants’ Motion to Dismiss, including body,

headings, quotations, and footnotes, and excluding those portions exempt by Local

Rule 7.1(F), contains 277 words as measured by Microsoft Office for Word 365.


                                           s/    Charles J. Cooper
                                                 Charles J. Cooper




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